Case 5:09-cr-00032-MFU         Document 110 Filed 03/31/15          Page 1 of 2      Pageid#:
                                          357
                                                                         CLERK'
                                                                              S OFFICQ U.S.DIST.COUR-I
                                                                                AT ROANOG ,VA
                                                                                     FILED
                     IN TIIE UNITED STATES DISTRICT COURT
                    FOR TM W ESTERN DISTRICT OF W RGIM A                          MA23 12215
                             HARRISONBURG DIW SION                          JULIA DUD         CL RK
                                                                           sv:
                                                                                  o y,    .     1st...a
UM TED STATES O F AM ERICA,                       CaseN o.5:09CR00032-2


V.                                                FINAL ORDER


M OISES M OREJON,                                 By:Hon.Glen E.Com ad
                                                  CllièfUnited StatesDistrictJudge
                     Defendant.


       Thisaction,broughtasa motion to vacate,setasideorcorreçtsentence,pm suantto 28

U.S.C.j2255,isbeforethecourtuponthereportandrecommendationoftheUnitedStates
M agistrateJudge,preparedpilrsuantto28U.S.C.j636(b).Themagistratejudgereportsthatthe
recordconclusivelyshowsthatthedefendanfsj2255motionwasnottimelyfiled;hisclaimsare
withoutm erit;helcnowingly andvoltmtarily waived hisrightto collaterally attack hissentence

pursuanttoapleaagreementprovision;andhisj2255claimsfallwithinthescopeofthat
waiver.Forthesereasons,themagistratejudgerecommendsthatthegovernmenfsmotionto
dism issbegranted and thatthedefendanfsrequestforan evidentiary hearing be denied. The

fourteendaysallottedtmderj6364b)forpartiesto objecttothefmdingsandrecommendations
inthemagistratejudge'sreporthaveexpired,andneitherpartyhasfledobjections.
       Finding itappropriateto do so,itishereby

                              A DIUD G ED A N D O RD ERE D

thatthereportandrecommendation oftheUnitedStatesM agistrateJudge(ECFNo.109)shall
beand hereby isADO PTED in itsentirety astheopinion ofthe court;them otion to dismiss

(ECFNo.99)isGRANTED;thedefendanfsrequestforan evidentiaryhenmingisDENIED,and
Case 5:09-cr-00032-MFU        Document 110 Filed 03/31/15            Page 2 of 2   Pageid#:
                                         358



andhismotiontovacate,setasideorcorrectsentenceunder28U.S.C.j2255@ CFNo.95)is
DISM ISSED ;andthisaction ishereby stricken from the activedocketofthecourt. Based upon

theco> 'sfnding thatthe defendanthasnotmade therequisite showing ofdenialofa
substantialright,a certificate ofappealability isDENIED.

      Theclerk willsend acopy ofthisorderto the defendantand to cotmselofrecord forthe

governm ent.
      ENTER:         This a /* day ot
                                    -M awh, 2o1s.


                                                           ChiefUnited StatesDistrictJudge
